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   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00015-GEB
12                                 Plaintiff,
                                                          STIPULATION REGARDING EXCLUDABLE
13                           v.                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                          [PROPOSED] FINDINGS AND ORDER
14   GURDEEP SINGH,
                                                          DATE: August 10, 2018
15                                 Defendant.             TIME: 9:00 a.m.
                                                          COURT: Hon. Garland E. Burrell, Jr.
16

17                                                STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for status on August 10, 2018.
21          2.       By this stipulation, defendant now moves to continue the status conference until August
22 17, 2018, and to exclude time between August 10, 2018, and August 17, 2018, under Local Code T4.

23          3.       The parties agree and stipulate, and request that the Court find the following:
24                   a)     The government has represented that the discovery associated with this case
25          includes written reports and descriptions of the items found during defendant’s arrest, including a
26          phone. All of this discovery has been either produced directly to counsel and/or made available
27          for inspection and copying.
28                   b)     Counsel for defendant desires additional time to consult with his client, review the

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30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          discovery, and to apply that information to an analysis of whether the government can prove its

 2          case. This analysis bears directly on defendant’s decision to confirm for trial.

 3                   c)     Counsel for defendant believes that failure to grant the above-requested

 4          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 5          into account the exercise of due diligence.

 6                   d)     The government does not object to the continuance.

 7                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of August 10, 2018 to August 17,

12          2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

14          of the Court’s finding that the ends of justice served by taking such action outweigh the best

15          interest of the public and the defendant in a speedy trial.

16          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

19          IT IS SO STIPULATED.

20
      Dated: August 9, 2018                                    McGREGOR W. SCOTT
21                                                             United States Attorney
22
                                                               /s/ PAUL A. HEMESATH
23                                                             PAUL A. HEMESATH
                                                               Assistant United States Attorney
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25
      Dated: August 9, 2018                                    /s/ ROBERTO MARQUEZ
26                                                             ROBERTO MARQUEZ
27                                                             Counsel for Defendant
                                                               GURDEEP SINGH
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 2                                      FINDINGS AND ORDER

 3        IT IS SO FOUND AND ORDERED.

 4        Dated: August 9, 2018

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     STIPULATION REGARDING EXCLUDABLE TIME      3
30   PERIODS UNDER SPEEDY TRIAL ACT
